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 9 ENDONOVO THERAPEUTICS, INC.

10
                                      UNITED STATES DISTRICT COURT
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12                                   CENTRAL DISTRICT OF CALIFORNIA
13 ENDONOVO THERAPEUTICS, INC.,                       Case No.: __________________
     a Delaware Corporation,
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                        Plaintiff,                    ENDONOVO THERAPEUTICS,
15                                                    INC.’S COMPLAINT FOR PATENT
                                                      INFRINGEMENT
16             v.
17                                                    DEMAND FOR JURY TRIAL
   KVP INTERNATIONAL, INC., a
18 California Corporation, ORTHOCOR
   MEDICAL, INC., a Delaware
19 Corporation, and CAERUS CORP., a
   Minnesota Corporation
20
                        Defendants.
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 1                             COMPLAINT FOR PATENT INFRINGEMENT
 2            Plaintiff, Endonovo Therapeutics, Inc. (“Endonovo”), files this Complaint for Patent
 3 Infringement against KVP International, Inc., Orthocor Medical, Inc. and Caerus Corp.

 4 (collectively “Defendants”), and Demand for Jury Trial. Endonovo hereby complains and

 5 alleges as follows:

 6                                             INTRODUCTION
 7            1.        Endonovo owns several patents based on the innovations of Dr. Arthur A.
 8 Pilla involving electromagnetically based medical therapies.

 9            2.        Dr. Pilla was a well-known pioneer in the field of electromagnetic therapies.
10 Dr. Pilla’s life was focused on research involving the biological effects of electromagnetic

11 fields and the use of such fields in healing various ailments in numerous areas of medicine.

12            3.        Dr. Pilla invented the first FDA-approved bone healing device using Pulsed
13 Electromagnetic Fields (PEMF). This device was designed to help hard to heal fractures,

14 or nonunions. Dr. Pilla’s discoveries led to the creation of an entire industry in

15 Electrotherapeutics.

16            4.        Dr. Pilla obtained several patents on these PEMF technologies he developed.
17 Endonovo currently owns the rights to many of Dr. Pilla’s patents, which have been

18 infringed and continue to be infringed by several products that Defendants, and each of the

19 them, have made, used, imported, sold and/or offered for sale.
20            5.        Defendants have made, used, imported, sold and/or offered for sale, their
21 infringing products for use in the same fields which Endonovo’s patents intended them to

22 be used, and for the same purposes which the patents are directed.

23            6.        Defendants have also created advertisements and instructions which describe
24 infringing product uses and instruct users to combine components and/or otherwise use

25 products in certain ways which infringe Endonovo’s patented method claims.

26                                        NATURE OF THE ACTION
27            7.        This is a patent infringement action, based on the patent laws of the United
28 States, codified at 35 United States Code, sections 271, et seq., brought by Endonovo


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 1 against Defendants for their infringement, including willful infringement, of four United

 2 States Patents owned by Endonovo, the patent numbers and titles of which are:

 3                      a.    U.S. Patent No. 7,740,574, entitled “Electromagnetic Treatment
 4            Induction Apparatus and Method for Using Same” (“The ‘574 Patent”);
 5                      b.    U.S. Patent No. 7,758,490, entitled “Integrated Coil Apparatus for
 6            Therapeutically Treating Human and Animal Cells, Tissues and Organs with
 7            Electromagnetic Fields and Method for Using Same” (“The ‘490 Patent”);
 8                      c.    U.S. Patent No. 8,961,385, entitled “Devices and Method for Treatment
 9            of Degenerative Joint Diseases with Electromagnetic Fields” (“The ‘385 Patent”);
10            and
11                      d.    Patent 9,656,096, entitled Methods and Apparatus for Electromagnetic
12            Enhancement of Biochemical Signaling Pathways for Therapeutics and Prophylaxis
13            in Plants, Animals and Humans (“The ‘096 Patent”).
14            8.        A true and correct copy of The ‘574 Patent is attached to this Complaint as
15 Exhibit A.

16            9.        A true and correct copy of The ‘490 Patent is attached to this Complaint as
17 Exhibit B.

18            10.       A true and correct copy of The ‘385 Patent is attached to this Complaint as
19 Exhibit C.
20            11.       A true and correct copy of The ‘096 Patent is attached to this Complaint as
21 Exhibit D.

22                                                 PARTIES
23            12.       Plaintiff ENDONOVO THERAPEUTICS, INC. (“Endonovo”) is a
24 corporation organized under the laws of the State of Delaware, with its principal place of

25 business located at 6320 Canoga Avenue, 15th Floor, Woodland Hills, CA 91367.

26            13.       Defendant KVP INTERNATIONAL, INC. (“KVP”) is a corporation
27 organized under the laws of the State of California, with its principal place of business

28 located at 13775 Ramona Ave., Chino, CA 91710.


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 1            14.       Defendant ORTHOCOR MEDICAL, INC. (“Orthocor”) is a corporation
 2 organized under the laws of the State of Delaware, with its principal place of business

 3 located at 1251 Red Fox Rd., Arden Hills, MN 55112. Orthocor supplies relevant

 4 components and products to KVP.

 5            15.       Defendant CAERUS CORP. (“Caerus”) is a corporation organized under the
 6 laws of the State of Minnesota, with its principal place of business located at 1251 Red Fox

 7 Rd., Arden Hills, MN 55112. Caerus owns Orthocor, which it acquired in 2016.

 8                                      JURISDICTION AND VENUE
 9            16.       This civil action arises out of the United States patent laws codified at 35
10 United States Code sections 1 et seq., thereby providing this court with subject matter

11 jurisdiction over this action pursuant to 28 United States Code section 1331 and 1338

12 subdivision (a), where this is a federal question involving patentable subject matter. The

13 federal district courts therefore have original jurisdiction.

14            17.       This court has personal jurisdiction over Defendant KVP, where KVP is a
15 corporation organized under the laws of the State of California, and whose principal place

16 of business is located in California.

17            18.       This court has personal jurisdiction over Defendant Orthocor, as the supplier
18 of critical components and parts to KVP, for use in KVP’s own infringing products and

19 product line, for the ultimate sale and offers for sale of those products within California.
20 Orthocor derives substantial profits, revenue and/or income from its sale of these parts and

21 components to KVP for use in KVP’s infringing products sold within California.

22            19.       Orthocor also derives substantial profits, revenue and/or income from the sale
23 of its own infringing products and product line within California, including direct sales as

24 well as indirect sales through its own distributors and/or retailers located in California, or

25 that knowingly distribute or sell products to California consumers and/or businesses.

26            20.       This court has personal jurisdiction over Defendant Caerus as the owner of
27 Orthocor as the supplier of critical components and parts to KVP, for use in KVP’s own

28 infringing products and product line, for the ultimate sale and offers for sale of those


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 1 products within California. Caerus, as the owner of Orthocor, also derives substantial

 2 profits, revenue and/or income from Orthocor’s sale of these parts and components to KVP

 3 for use in KVP’s infringing products sold within California.

 4            21.       Caerus also derives substantial profits, revenue and/or income from the sale of
 5 Orthocor’s infringing products as well as its own infringing products and product line

 6 within California, including direct sales as well as indirect sales through its own

 7 distributors and/or retailers located in California, or that knowingly distribute or sell

 8 products to California consumers and/or businesses.

 9            22.       Venue is also proper in this court pursuant to 28 United States Code sections
10 1391 and 1400 where these Defendants reside, or have committed acts of infringement

11 within this district and have a regular and established place of business.

12                                       FACTUAL BACKGROUND
13                                       RELEVANT INNOVATIONS
14            23.       Dr. Arthur Pilla was an internationally recognized authority on non-invasive
15 electrotherapy devices, who developed many products and patented technologies before his

16 death in 2015.

17            24.       During his life, Dr. Pilla conducted pioneering research in electromagnetic
18 field (EMF) effects on living tissue and as of his death has already been awarded 16 patents

19 with another 21 patents pending in the area of EMF therapeutics.
20            25.       Dr. Pilla served as Scientist and Advisor to Ivivi Technologies (“Ivivi”). He
21 patented several technologies during his time at Ivivi, assigning those patent rights to Ivivi.

22            26.       Ivivi was a subsidiary of another company, ADM Tronics Unlimited, Inc.
23 (“ADM”).

24            27.       Rio Grande Neurosciences, Inc. (“Rio”) acquired certain Ivivi assets over the
25 course of several years. By 2015 Rio had acquired all of Ivivi’s PEMF technology based

26 patents, which Rio had previously licensed.
27            28.       Endonovo thereafter acquired these PEMF-based patent rights from Rio on
28 December 22, 2017.


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 1            29.       Endonovo specifically acquired several patents which Defendants have been
 2 infringing and continue to infringe by creating, producing, manufacturing, importing,

 3 supplying, distributing, selling, reselling and/or offering to sell various infringing products

 4 or components contained therein which infringe alone or in combination.

 5                              PATENTS, ASSIGNMENT AND OWNERSHIP
 6            30.       The ‘574 Patent was granted on June 22, 2010.
 7            31.       All rights, title, and interest in the ‘574 Patent at the time it was granted, were
 8 assigned to Ivivi. Rio later acquired all rights, title and interest to the ‘574 Patent, which it

 9 then sold to Endonovo.

10            32.       Since December 22, 2017 Endonovo has owned all rights, title and interest in
11 the ‘574 Patent.

12            33.       The ‘490 Patent was granted on July 20, 2010.
13            34.       All rights, title, and interest in the ‘490 Patent at the time it was granted, were
14 assigned to Ivivi. Rio later acquired all rights, title and interest to the ‘490 Patent, which it

15 then sold to Endonovo.

16            35.       Since December 22, 2017 Endonovo has owned all rights, title and interest in
17 the ‘490 Patent.

18            36.       The ‘385 Patent was granted on February 24, 2015.
19            37.       All rights, title, and interest in the ‘385 Patent at the time it was granted, were
20 assigned to Ivivi. Rio later acquired all rights, title and interest to the ‘385 Patent, which it

21 then sold to Endonovo.

22            38.       Since December 22, 2017 Endonovo has owned all rights, title and interest in
23 the ‘385 Patent.

24            39.       The ‘096 Patent was granted on May 23, 2017.
25            40.       All rights, title, and interest in the ‘096 Patent at the time it was granted, were
26 assigned to Ivivi. Rio later acquired all rights, title and interest to the ‘096 Patent, which it
27 then sold to Endonovo.

28            41.       Since December 22, 2017 Endonovo has owned all rights, title and interest in

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 1 the ‘096 Patent.

 2            42.       The patents in paragraphs [30-42] are collectively referred to as the
 3 “Endonovo Patents.”

 4                                    KNOWLEDGE OF THE PATENTS
 5            43.       Dr. Pilla was a pioneer in the area of EMF technologies, including PEMF, and
 6 incorporating those technologies into healing and therapeutic devices and medical

 7 therapies. Anyone practicing in electromagnetic therapy research and product development

 8 is aware of Dr. Pilla and his research, since it forms the basis of all such technologies, and

 9 whose innovations have been patented in this and many other countries.

10            44.       KVP’s own website that has a frequently asked questions (FAQ) section,
11 which states that the “time treatment” approach used in its infringing product line is based

12 on Dr. Pilla’s research, and advertises this same product line as patented technology.

13            45.       Orthocor and Caerus must be aware of Dr. Pilla’s patents where Orthocor has
14 tried to obtain patents in this same field, but has been significantly limited in the patent

15 protection it has been able to obtain due to Dr. Pilla’s own patents in the area. Orthocor has

16 only been able to obtain a limited patent on the addition of a heating element into a PEMF

17 based device. However, Orthocor’s products, with or without any such heating element,

18 still directly infringe the Endonovo Patents where they incorporate all parts of the patented

19 PEMF-based apparatus and/or methods in those products or product line.
20            46.       Orthocor also advertises its infringing products and product line as patented
21 PEMF technology, without mentioning the heating element which Orthocor needed to

22 obtain a patent in the first place. The advertisements establish that the therapeutic portion

23 of the device and the portion worth offering for sale is the PEMF technology of the

24 products or product line, irrespective of any heating component and/or element contained

25 within those same products and/or product line. Orthocor and its parent company Caerus,

26 know or certainly should know about the limitations of their own patents and the prior art
27 which requires their patents to be so limited.

28            47.       Defendants thus have knowledge, or should have knowledge of Endonovo’s

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 1 Patents, and thus are willfully, knowingly and/or recklessly infringing Endonovo’s Patents

 2 by and through their ongoing and continued wrongful activities.

 3                            INFRINGING PRODUCTS AND TECHNOLOGIES
 4            48.       Defendants make, market, import, use, sell, and/or offer for sale several
 5 products and related services within the United States, including this district, which

 6 infringe Endonovo’s Patents.

 7            49.       KVP makes, markets, uses, sells and offers for sale a product it refers to as its
 8 KVP Cura line, including, but not limited to the KVP Cura Patch. KVP has trademarked

 9 the KVP Cura name it uses to refer to its infringing products and/or product line, a picture

10 of KVP’s infringing product line and advertisement for the same is shown below.

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 1            50.       The KVP Cura line infringes, where according to KVP’s own website, “the
 2 KVP Cura line reduces pain and increases blood flow, providing effective therapy for a

 3 variety of ailments. Using PEMF technology, KVP Cura increases metabolism, blood flow,

 4 and lymphatic flow by accelerating the exchange of positive and negative ions through the

 5 cell membranes of an animal’s body.” Thus, the product line includes PEMF technology

 6 used for treating various ailments in exactly the same way as intended by the Endonovo

 7 Patents.

 8            51.       The KVP Cura line includes a “KVP Cura Patch which attaches with Velcro
 9 for use with a wide variety of garments” according to KVP’s own website, where the Patch

10 itself contains the PEMF technology. The Patch itself infringes certain claims of the

11 Endonovo Patents, and can also be combined with a variety of therapeutic devices, where

12 the combination infringes Endonovo’s patents. By instructing and/or encouraging a

13 consumer and/or other user to combine or otherwise use a product in a particular way, KVP

14 also indirectly infringes upon method claims within Endonovo’s Patents.

15            52.       Endonovo is informed and believes, and on that basis alleges, that KVP
16 sought a trademark on its Cura name in October of 2017, and thus on or around this same

17 time it also began marketing, making, using, selling and offering for sale the relevant

18 infringing products and product line.

19            53.       Orthocor supplies KVP with components for use in the KVP Cura products
20 and product line, including components with the PEMF technology built within, which

21 either infringe the Endonovo Patents themselves, or infringe when used in combination

22 with other components contained within the KVP Cura product line, where Orthocor

23 encourages and/or instructs KVP to combine the components to create the infringing

24 products and/or product line.

25            54.       Orthocor has also developed its own line of PEMF products, which infringe
26 the Endonovo Patents. Orthocor refers to this line of products as “The OrthoCor Active
27 System.” Orthocor sells and markets this “system” as a PEMF therapy used for pain relief

28 targeting at least seven locations or “pain sites” on the body including the ankle, back,


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 1 knee, wrist, elbow, shoulder, and neck. “The OrthoCor Active System” for the back and

 2 knee are shown below.

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17            55.       “The OrthoCor Active System,” according to Orthocor’s own website, is
18 based on PEMF therapy which Orthocor also claims to have patented. However, Orthocor

19 was only able to obtain a small subset of patents which all require the addition of a heating
20 element into a PEMF device, and where such addition still does not save its products or

21 product line from infringing upon the Endonovo Patents where all of the elements of the

22 claims in these patents are otherwise met, regardless of whether the heating element is also

23 included or not.

24            56.       Despite knowing that its patents definitely require the additional heating
25 component, at the very least, Orthocor does not mention this heating element as part of its

26 “Active System” on its website, but instead claims the system is based on patented PEMF
27 therapy. But the PEMF therapy is what is essentially patented by the Endonovo Patents.

28            57.       Orthocor has marketed, made, used, sold and offered for sale various

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 1 infringing products contained within this “Active System” product line for several years. It

 2 is believed that Orthocor may have taken advantage of Dr. Pilla’s deteriorating health and

 3 Rio’s slow and drawn out acquisition of Ivivi’s PEMF Patents as well as its later sale of

 4 these assets to Endonovo.

 5            58.       Once Endonovo had acquired these patent rights, it sought to determine the
 6 extent to which Orthocor had knowingly infringed upon those patents.

 7            59.       Caerus acquired Orthocor in 2016. It continued to make, use, sell and/or offer
 8 for sale the infringing products of the “OrthoCor Active System.” It also makes, uses, sells

 9 and/or offers for sale its own infringing products and product line, which it refers to as the

10 “EMbrace Relief System,” the “EMpower Device,” and the “EMbrace L’il Back System.”

11 The “EMpower Device” is shown below.

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22            60.       The “EMbrace Relief System” refers to a device which can be for therapy on
23 the Hip, Back and/or Shoulder area of a dog or similar animal. The “EMbrace Relief

24 System” is shown below.

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12            61.       The “EMbrace L’il Back System” refers to the “EMpower Device” coupled
13 with a back bracer for use on a dog or similar animal. The “EMbrace L’il Back System” is

14 shown below.

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 1            62.       Defendants, and each of them, have been and are now infringing, and will
 2 continue to infringe, the Endonovo Patents in this judicial district as well as elsewhere in

 3 California and in the United States, by, among other things, making, manufacturing, using,

 4 importing, selling, marketing, and/or offering for sale these products, or variations thereon

 5 (collectively referred to herein as the “Accused Products.”)

 6            63.       In addition to directly infringing the Endonovo Patents under 35 United States
 7 Code section 271, subdivision (a), either literally or under the doctrine of equivalents, or

 8 both, Defendants indirectly infringe all Endonovo Patents either literally or under the

 9 doctrine of equivalents, or both, by instructing, directing, and/or requiring others, including

10 customers, purchasers, users, and developers, to perform all or some of the steps of the

11 method claims of the Endonovo Patents.

12            64.       Moreover, Endonovo alleges that Defendants all had knowledge of the
13 Endonovo Patents and willfully infringed upon these patents, taking advantage of the

14 failing health of Dr. Pilla followed by a lengthy transition in the ownership of Dr. Pilla’s

15 PEMF patents which provided these Defendants with substantial time to make, market

16 and/or sell these infringing products and technologies, thus deriving a significant amount

17 of profits, revenue and/or income from the sale of these infringing products.

18                                        INFRINGEMENT CLAIMS
19                                                  COUNT I
20               (Direct Infringement of the ‘574 Patent pursuant to 35 U.S.C. §271(a).)
21            65.       Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
22 herein, the allegations of all preceding paragraphs, as set forth above.

23            66.       Defendants, and each of them, have infringed and continue to infringe one or
24 more of the claims of the ‘574 patent, by making, using, selling and/or offering for sale

25 within the United States, or otherwise importing into the United States, the infringing

26 products, and/or infringing components of those products, in violation of 35 United States
27 Code, section 271, subdivision (a).

28            67.       Defendants’ infringement of the ‘574 Patent is based on literal infringement or

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 1 infringement under the doctrine of equivalents, or both.

 2            68.       Defendants’ acts of making, using, selling and/or offering for sale or
 3 otherwise importing the infringing products and/or related services, have been done

 4 without license, and without the permission, consent, or authorization of Endonovo.

 5            69.       Defendants’ infringement includes, but is not limited to, the manufacture, use,
 6 importation, sale, and offer for sale of products contained in the “KVP Cura” line,

 7 including but not limited to the “KVP Cura Patch,” as well as any KVP braces and

 8 therapeutic devices made for the “KVP Cura Patch” or with a place such that the ‘KVP

 9 Cura Patch” will attach, the “OrthoCor Active System,” including all devices which make

10 up this “Active System” line of products, including those which attach on or around, and

11 target therapy to the ankle, knee, back, neck, elbow, wrist, and/or shoulder, the “EMbrace

12 Relief System,” including each part of that system for use on the Hip, Back, and/or

13 Shoulder, the “EMpower Device,” which can be used in combination with other

14 therapeutic devices to target various areas of the body, and the “EMbrace L’il Back

15 System,” which incorporates the PEMF device into the therapeutic back brace to create a

16 new infringing product. These products are collectively referred to as the “‘574 Infringing

17 Products.”

18            70.       The ‘574 Infringing Products infringe the ‘574 Patent because each of these
19 products either practices and/or utilizes a method for using an electromagnetic treatment
20 inductive apparatus, where that method comprises the steps of (1) combining at least one

21 inductive apparatus with a therapeutic device, wherein said therapeutic device is positioned

22 in proximity to a target pathway structure, (2) conﬁguring at least one waveform according

23 to a mathematical model having at least one waveform parameter, said at least one

24 waveform to be coupled to said target pathway structure, (3) choosing a value of said at

25 least one waveform parameter to satisfy a signal to noise ratio model, so that said at least

26 waveform is conﬁgured to be detectable in said target pathway structure above background
27 activity in said target pathway structure, (4) generating an electromagnetic signal from said

28 conﬁgured at least one waveform, (5) and coupling said electromagnetic signal to said


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 1 target pathway structure using said at least one inductive apparatus device thereby

 2 providing treatment.

 3            71.       Each of the ‘574 Infringing Products uses and/or incorporates this method,
 4 where each one combines an inductive apparatus either built into some kind of therapeutic

 5 device, or that is provided on a patch or other component which can then be attached or

 6 secured to such a device, while positioned or “coupled” near the location requiring therapy,

 7 referred to as the “target pathway structure,” and where the inductive device thereby

 8 generates an EM signal based on at least one waveform with at least one parameter

 9 satisfying signal to noise ratios such that the location to be healed will detect such a

10 waveform in order to have any healing and/or therapeutic effect on that area (which

11 explains how the necessary PEMF technology in these products must work to be effective

12 in the first place).

13            72.       Endonovo is informed and believes, and on that basis alleges, that Defendants,
14 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

15 lost profits and revenue through loss of sales of its own products by virtue of their

16 infringement of the ‘574 Patent.

17            73.       Endonovo has been harmed and sustained damages as a direct and proximate
18 result of Defendants’ infringement of the ‘574 Patent. Endonovo is thus entitled to

19 monetary compensation for Defendants’ infringement in an amount to be determined to
20 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

21 Defendants through their infringement of the ‘574 Patent.

22            74.       Endonovo is informed and believes, and on that basis alleges, that the
23 infringement of the ‘574 Patent by Defendants, and each of them, is and has been

24 intentional, willful and without regard to Endonovo’s rights. Defendants, and each of them,

25 are aware of Dr. Pilla and his pioneering EMF research and the patents he obtained while

26 conducting that research, which Endonovo now owns.
27            75.       Despite Defendants’ knowledge of the Endonovo Patents, Defendants, and
28 each of them, have sold and continue to sell the ‘574 Infringing Products and related


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 1 services in complete and reckless disregard of Endonovo’s patent rights. As such,

 2 Defendants have acted recklessly and continue to willfully, wantonly, and deliberately

 3 engage in acts of infringement of the ‘574 Patent, justifying an award for increased

 4 monetary damages pursuant to 35 United States Code, section 284, as well as attorneys’

 5 fees and costs pursuant to 35 United States Code, section 285.

 6            76.       As a result of Defendants’ unlawful activities, Endonovo has suffered and will
 7 continue to suffer irreparable harm for which there is no adequate remedy at law.

 8 Endonovo competes with Defendants in these areas of developing medical device

 9 technologies and/or therapies. Endonovo currently licenses use of the ‘574 Patent and is

10 engaged in the licensing of its patent portfolio generally. Defendants’ continued

11 infringement of the ‘574 Patent causes, and will continue to cause, harm to Endonovo in

12 various ways, including but not limited to, price erosion, loss of goodwill, damage to

13 reputation, lost business opportunities, lost revenue and income from the sale of its own

14 products, and increased direct and/or indirect competition.

15            77.       Monetary compensation alone for the damages incurred due to the harm
16 caused by Defendants’ infringing activities is, and will continue to be, insufficient to

17 compensate Endonovo for these harms. Endonovo is therefore entitled to preliminary

18 and/or permanent injunctive relief. Unless enjoined, Defendants will continue their

19 infringing activities and conduct. Thus, injunctive relief is necessary to protect Endonovo
20 from ongoing injury and further damages.

21                                                  COUNT II
22             (Indirect Infringement of the ‘574 Patent pursuant to 35 U.S.C. §271(b).)
23            78.       Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
24 herein, the allegations of all preceding paragraphs, as set forth above.

25            79.       Defendants, and each of them, have induced and continue to induce
26 infringement of one or more of the claims of the ‘574 Patent, in violation of 35 United
27 States Code, section 271, subdivision (b).

28            80.       In addition to their direct infringement, Defendants have indirectly infringed,

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 1 and will continue to indirectly infringe the ‘574 Patent by supplying components and

 2 otherwise instructing, directing and/or requiring others, including each of the other

 3 Defendants, as well as other suppliers, resellers, developers, distributors, customers,

 4 purchasers, consumers and/or other users to perform some or part of the steps of the ‘574

 5 Patent’s method claims, whether literally or under the doctrine of equivalents, where all

 6 such steps of the method claims are performed either by the Defendants or its suppliers,

 7 resellers, developers, distributors, customers, purchasers, consumers and/or other users, or

 8 some combination thereof.

 9            81.       Endonovo is informed and believes, and on that basis alleges, that Defendants,
10 and each of them, knew or were willfully blind to the fact that they each were inducing

11 others, including each other, as well as other suppliers, resellers, developers, distributors,

12 customers, purchasers, consumers and/or other users to infringe by practicing either

13 themselves or in conjunction with Defendants, one or more of the method claims of the

14 ‘574 Patent.

15            82.       Endonovo is informed and believes, and on that basis alleges, that Defendants,
16 and each of them, knowingly and actively aided and abetted the direct infringement of the

17 ‘574 Patent by instructing, directing, encouraging, and/or requiring others, including each

18 of the other Defendants, as well as other suppliers, resellers, developers, distributors,

19 customers, purchasers, consumers and/or other users to use the ‘574 Infringing Products.
20 Such instruction and/or encouragement included, but was not limited to, advising third

21 parties to use the ‘574 Infringing Products in an infringing manner, and distributing various

22 guidelines and procedures to third parties explaining or instructing those parties on how to

23 use the ‘574 Infringing Products in an infringing manner, providing mechanisms through

24 which third parties could or may infringe the ‘574 Patent, as well as by advertising and

25 promoting the use of the ‘574 Infringing Products in an infringing manner.

26            83.       Examples of wrongful instruction, encouragement, advertisement, and
27 distribution of guidelines can be seen on Defendants’ websites, advertisements for the ‘574

28 Infringing Products, as well as Defendants’ own FAQ sheets, brochures, User Guides and


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 1 Instruction Sheets for the ‘574 Infringing Products, which, among other things, instructs,

 2 and/or encourages combining the PEMF inductive devices to a brace or other therapeutic

 3 device and/or item which is thereafter placed by the instructions near the location of the

 4 injured area requiring the therapy.

 5            84.       Endonovo is informed and believes, and on that basis alleges, that Defendants,
 6 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

 7 lost profits and revenue through loss of sales of its own products by virtue of their indirect

 8 infringing activities involving the ‘574 Patent.

 9            85.       Endonovo has been harmed and sustained damages as a direct and proximate
10 result of Defendants’ infringement of the ‘574 Patent. Endonovo is thus entitled to

11 monetary compensation for Defendants’ infringement in an amount to be determined to

12 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

13 Defendants through their indirect infringing activities involving the ‘574 Patent.

14            86.       Where Defendants have acted recklessly and continue to willfully, wantonly,
15 and deliberately engage in acts of indirect infringement of the ‘574 Patent, an award for

16 increased monetary damages pursuant to 35 United States Code, section 284, as well as

17 attorneys’ fees and costs pursuant to 35 United States Code, section 285, is justified.

18            87.       Where such indirect infringement also threatens to damage Endonovo in ways
19 that cannot be adequately compensated by monetary compensation alone, Endonovo also
20 requests and is entitled to preliminary and/or permanent injunctive relief from Defendants’

21 ongoing infringing activities.

22                                                 COUNT III
23               (Direct Infringement of the ‘490 Patent pursuant to 35 U.S.C. §271(a).)
24            88.       Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
25 herein, the allegations of all preceding paragraphs, as set forth above.

26            89.       Defendants, and each of them, have infringed and continue to infringe one or
27 more of the claims of the ‘490 patent, by making, using, selling and/or offering for sale

28 within the United States, or otherwise importing into the United States, the infringing


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 1 products, and/or infringing components of those products, in violation of 35 United States

 2 Code, section 271, subdivision (a).

 3            90.       Defendants’ infringement of the ‘490 Patent is based on literal infringement or
 4 infringement under the doctrine of equivalents, or both.

 5            91.       Defendants’ acts of making, using, selling and/or offering for sale or
 6 otherwise importing the infringing products and/or related services, have been done

 7 without license, and without the permission, consent, or authorization of Endonovo.

 8            92.       Defendants’ infringement includes, but is not limited to, the manufacture, use,
 9 importation, sale, and offer for sale of products contained in the “KVP Cura” line,

10 including but not limited to all therapeutic braces and other devices which are used in

11 combination with the “KVP Cura Patch,” or any KVP braces and therapeutic devices for

12 which the PEMF technology is directly build into said brace or device, the “OrthoCor

13 Active System,” including all devices which make up this “Active System” line of

14 products, including those which attach on or around, and target therapy to the ankle, knee,

15 back, neck, elbow, wrist, and/or shoulder, the “EMbrace Relief System,” including each

16 part of that system for use on the Hip, Back, and/or Shoulder, as long as each is combined

17 with the “EMpower Device,” or that same device when used in combination with any of

18 Caerus’ braces or other form fitting therapeutic devices or garments, including the

19 “EMbrace L’il Back System,” which incorporates the PEMF device into the therapeutic
20 back brace. These products are collectively referred to as the “‘490 Infringing Products.”

21            93.       The ‘490 Infringing Products infringe the ‘490 Patent because each one is an
22 electromagnetic treatment apparatus for animals and humans comprising (1) a waveform

23 conﬁguration means for conﬁguring at least one waveform to be coupled to a target

24 pathway structure according to a mathematical model having at least one waveform

25 parameter capable of being chosen to satisfy a Signal to Noise Ratio model so that said at

26 least one waveform is conﬁgured to be detectable in said target structure above background
27 activity in said target pathway structure, (2) at least one coupling device connected to said

28 waveform conﬁguration means by at least one connecting means for generating an


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 1 electromagnetic signal from said conﬁgured at least one waveform and for coupling said

 2 electromagnetic signal to said target pathway structure, and (3) a positioning device

 3 wherein said at least one coupling device is integral to said positioning device.

 4            94.       Each of the ‘490 Infringing Products involves an electromagnetic treatment
 5 apparatus for an animal or human in which PEMF therapy is used, and thereby comprises a

 6 waveform configuration means in which at least one parameter is chosen and configured to

 7 satisfy signal to noise ratio such that the signal will be detectable by the “target structure”

 8 and which will be coupled to the target pathway structure, that is, the area of the body to be

 9 healed or requiring therapy, and where these products also comprise a connecting means to

10 couple the generated signal of the configured waveform to the target area requiring

11 therapy, where the connecting means is the brace and/or a patch which attaches directly to

12 the brace, and where the brace then connects directly to the body to encompass the area to

13 be healed which provides the positioning means integral to the coupling of the signal

14 generated and the targeted area.

15            95.       The ‘490 Infringing Products also infringe the ‘490 Patent because each of
16 these products either practices and/or utilizes a method for electromagnetic therapeutic

17 treatment of animals and humans comprising the steps of (1) conﬁguring at least one

18 waveform according to a mathematical model having at least one waveform parameter,

19 said at least one waveform to be coupled to a target pathway structure, (2) choosing a value
20 of said at least one waveform parameter to satisfy a Signal to Noise Ratio model so that

21 said at least waveform is conﬁgured to be detectable in said target pathway structure above

22 background activity in said target pathway structure, (3) generating an electromagnetic

23 signal from said conﬁgured at least one waveform, (4) integrating at least one coupling

24 device with a positioning device to be placed in proximity to said target pathway structure,

25 and (5) coupling said electromagnetic signal to said target pathway structure using said at

26 least one coupling device.
27            96.       Each of the ‘490 Infringing Products uses and/or incorporates this method
28 which ultimately is the PEMF signal configuring and generating methods employed by all


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 1 of the infringing devices, and doing so in such a way where the signal generated is then

 2 coupled (placed in close proximity to) the target pathway structure (the part of the body to

 3 be healed) by means of this integration of a coupling device with a positioning device,

 4 where the positioning device would be some type of device which positions in and/or

 5 around the area at issue, such as a form fitting brace and/or garment and where the

 6 coupling device would be the attachable unit or patch or the means or device by which the

 7 inductive unit is thereby attached to the brace and/or garment, regardless of how that unit

 8 or patch is attached thereto.

 9            97.       Endonovo is informed and believes, and on that basis alleges, that Defendants,
10 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

11 lost profits and revenue through loss of sales of its own products by virtue of their

12 infringement of the ‘490 Patent.

13            98.       Endonovo has been harmed and sustained damages as a direct and proximate
14 result of Defendants’ infringement of the ‘490 Patent. Endonovo is thus entitled to

15 monetary compensation for Defendants’ infringement in an amount to be determined to

16 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

17 Defendants through their infringement of the ‘490 Patent.

18            99.       Endonovo is informed and believes, and on that basis alleges, that the
19 infringement of the ‘490 Patent by Defendants, and each of them, is and has been
20 intentional, willful and without regard to Endonovo’s rights. Defendants, and each of them,

21 are aware of Dr. Pilla and his pioneering EMF research and the patents he obtained while

22 conducting that research, which Endonovo now owns.

23            100. Despite Defendants’ knowledge of the Endonovo Patents, Defendants, and
24 each of them, have sold and continue to sell the ‘490 Infringing Products and related

25 services in complete and reckless disregard of Endonovo’s patent rights. As such,

26 Defendants have acted recklessly and continue to willfully, wantonly, and deliberately
27 engage in acts of infringement of the ‘490 Patent, justifying an award for increased

28 monetary damages pursuant to 35 United States Code, section 284, as well as attorneys’


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 1 fees and costs pursuant to 35 United States Code, section 285.

 2            101. As a result of Defendants’ unlawful activities, Endonovo has suffered and will
 3 continue to suffer irreparable harm for which there is no adequate remedy at law.

 4 Endonovo competes with Defendants in these areas of developing medical device

 5 technologies and/or therapies. Endonovo currently licenses use of the ‘490 Patent and is

 6 engaged in the licensing of its patent portfolio generally. Defendants’ continued

 7 infringement of the ‘490 Patent causes, and will continue to cause, harm to Endonovo in

 8 various ways, including but not limited to, price erosion, loss of goodwill, damage to

 9 reputation, lost business opportunities, lost revenue and income from the sale of its own

10 products, and increased direct and/or indirect competition.

11            102. Monetary compensation alone for the damages incurred due to the harm
12 caused by Defendants’ infringing activities is, and will continue to be, insufficient to

13 compensate Endonovo for these harms. Endonovo is therefore entitled to preliminary

14 and/or permanent injunctive relief. Unless enjoined, Defendants will continue their

15 infringing activities and conduct. Thus, injunctive relief is necessary to protect Endonovo

16 from ongoing injury and further damages.

17                                               COUNT IV
18             (Indirect Infringement of the ‘490 Patent pursuant to 35 U.S.C. §271(b).)
19            103. Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
20 herein, the allegations of all preceding paragraphs, as set forth above.

21            104. Defendants, and each of them, have induced and continue to induce
22 infringement of one or more of the claims of the ‘490 Patent, in violation of 35 United

23 States Code, section 271, subdivision (b).

24            105. In addition to their direct infringement, Defendants have indirectly infringed,
25 and will continue to indirectly infringe the ‘490 Patent by supplying components and

26 otherwise instructing, directing and/or requiring others, including each of the other
27 Defendants, as well as other suppliers, resellers, developers, distributors, customers,

28 purchasers, consumers and/or other users to perform some or part of the steps of the ‘490


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 1 Patent’s method claims, whether literally or under the doctrine of equivalents, where all

 2 such steps of the method claims are performed either by the Defendants or its suppliers,

 3 resellers, developers, distributors, customers, purchasers, consumers and/or other users, or

 4 some combination thereof.

 5            106. Endonovo is informed and believes, and on that basis alleges, that Defendants,
 6 and each of them, knew or were willfully blind to the fact that they each were inducing

 7 others, including each other, as well as other suppliers, resellers, developers, distributors,

 8 customers, purchasers, consumers and/or other users to infringe by practicing either

 9 themselves or in conjunction with Defendants, one or more of the method claims of the

10 ‘490 Patent.

11            107. Endonovo is informed and believes, and on that basis alleges, that Defendants,
12 and each of them, knowingly and actively aided and abetted the direct infringement of the

13 ‘490 Patent by instructing, directing, encouraging, and/or requiring others, including each

14 of the other Defendants, as well as other suppliers, resellers, developers, distributors,

15 customers, purchasers, consumers and/or other users to use the ‘490 Infringing Products.

16 Such instruction and/or encouragement included, but was not limited to, advising third

17 parties to use the ‘490 Infringing Products in an infringing manner, and distributing various

18 guidelines and procedures to third parties explaining or instructing those parties on how to

19 use the ‘490 Infringing Products in an infringing manner, providing mechanisms through
20 which third parties could or may infringe the ‘490 Patent, as well as by advertising and

21 promoting the use of the ‘490 Infringing Products in an infringing manner.

22            108. Examples of wrongful instruction, encouragement, advertisement, and
23 distribution of guidelines can be seen on Defendants’ websites, advertisements for the ‘490

24 Infringing Products, as well as Defendants’ own FAQ sheets, brochures, User Guides and

25 Instruction Sheets for the ‘490 Infringing Products, which, among other things, instructs,

26 and/or encourages combining the PEMF inductive devices to a brace or other therapeutic
27 device and/or item which is thereafter placed by the instructions near the location of the

28 injured area requiring the therapy.


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 1            109. Endonovo is informed and believes, and on that basis alleges, that Defendants,
 2 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

 3 lost profits and revenue through loss of sales of its own products by virtue of their indirect

 4 infringing activities involving the ‘490 Patent.

 5            110. Endonovo has been harmed and sustained damages as a direct and proximate
 6 result of Defendants’ infringement of the ‘490 Patent. Endonovo is thus entitled to

 7 monetary compensation for Defendants’ infringement in an amount to be determined to

 8 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

 9 Defendants through their indirect infringing activities involving the ‘490 Patent.

10            111. Where Defendants have acted recklessly and continue to willfully, wantonly,
11 and deliberately engage in acts of indirect infringement of the ‘490 Patent, an award for

12 increased monetary damages pursuant to 35 United States Code, section 284, as well as

13 attorneys’ fees and costs pursuant to 35 United States Code, section 285, is justified.

14            112. Where such indirect infringement also threatens to damage Endonovo in ways
15 that cannot be adequately compensated by monetary compensation alone, Endonovo also

16 requests and is entitled to preliminary and/or permanent injunctive relief from Defendants’

17 ongoing infringing activities.

18                                               COUNT V
19               (Direct Infringement of the ‘385 Patent pursuant to 35 U.S.C. §271(a).)
20            113. Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
21 herein, the allegations of all preceding paragraphs, as set forth above.

22            114. Defendants, and each of them, have infringed and continue to infringe one or
23 more of the claims of the ‘385 patent, by making, using, selling and/or offering for sale

24 within the United States, or otherwise importing into the United States, the infringing

25 products, and/or infringing components of those products, in violation of 35 United States

26 Code, section 271, subdivision (a).
27            115. Defendants’ infringement of the ‘385 Patent is based on literal infringement or
28 infringement under the doctrine of equivalents, or both.


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 1            116. Defendants’ acts of making, using, selling and/or offering for sale or
 2 otherwise importing the infringing products and/or related services, have been done

 3 without license, and without the permission, consent, or authorization of Endonovo.

 4            117. Defendants’ infringement includes, but is not limited to, the manufacture, use,
 5 importation, sale, and offer for sale of products contained in the “KVP Cura” line,

 6 including but not limited to the “KVP Cura Patch,” as well as any KVP braces and

 7 therapeutic devices made for the “KVP Cura Patch” or with a place such that the ‘KVP

 8 Cura Patch” will attach, the “OrthoCor Active System,” including all devices which make

 9 up this “Active System” line of products, including those which attach on or around, and

10 target therapy to the ankle, knee, back, neck, elbow, wrist, and/or shoulder, the “EMbrace

11 Relief System,” including each part of that system for use on the Hip, Back, and/or

12 Shoulder, the “EMpower Device,” which can be used in combination with other

13 therapeutic devices to target various areas of the body, and the “EMbrace L’il Back

14 System,” which incorporates the PEMF device into the therapeutic back brace to create a

15 new infringing product. These products are collectively referred to as the “‘385 Infringing

16 Products.”

17            118. The ‘385 Infringing Products infringe the ‘385 Patent because each employs,
18 practices or utilizes a method of treating degenerative joint disease comprising (1)

19 positioning a ﬂexible coil wire applicator of a lightweight wearable or stationary pulsed
20 EMF therapy device adjacent to a joint or tissue to be treated, and (2) applying a treatment

21 regime from the therapy device, wherein the treatment regime comprises bursts of

22 electromagnetic signals having a peak amplitude of less than about 200 milliGauss,

23 wherein the bursts have a duration of between about 0.5 msec and about 50 msec, further

24 wherein the bursts are repeated at an interburst interval of between about 2 seconds and 0.1

25 second for a treatment on-time. followed by a treatment off-time that is greater than the

26 treatment on-time, or instead comprising (1) positioning a ﬂexible coil wire applicator of a
27 lightweight, wearable battery-operated EMF therapy device adjacent to a joint or tissue to

28 be treated, and (2) treating the joint or tissue by applying bursts of electromagnetic waves


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 1 having a peak amplitude of less than about 200 milliGauss from the therapy device,

 2 wherein the bursts have a duration of between about 0.5 msec and about 50msec. further

 3 wherein the bursts are repeated at an interburst interval of between about 10 seconds and

 4 0.1 second for a treatment on-time of between about 5minutes and 30 minutes. followed by

 5 a treatment off-time that is greater than about 30 minutes, or instead comprising (1)

 6 applying a coil applicator of a lightweight wearable or stationary pulsed EMF therapy

 7 device adjacent to a joint or tissue to be treated and (2) applying a treatment regime from

 8 the therapy device wherein the treatment regime comprises bursts of electromagnetic

 9 waves having a peak amplitude of less than about 200 milliGauss, wherein the bursts have

10 a duration of between about 0.5msec and about 50 msec. further wherein the bursts are

11 repeated at an interburst interval of between about 2 seconds and 0.1 second for a treatment

12 on-time, followed by a treatment off-time that is greater than the treatment on-time.

13            119. Each of the ‘385 Infringing Products uses and/or incorporates one of these
14 methods within those products by positioning a flexible coil wire applicator or a coil

15 applicator that is either lightweight, or contained within a lightweight and wearable device,

16 sometimes battery operated, and then by employing a timed system of EMF pulses through

17 the device positioned adjacent to the joint or tissue to be treated, in which bursts of EM

18 waveforms are applied as part of a treatment regime based on these timed intervals which

19 Dr. Pilla’s research determined had optimal healing and therapeutic effects for treatment of
20 degenerative joint diseases and to provide the requisite pain relief caused by such diseases.

21 KVP admits to utilizing the timed approach based on Dr. Pilla’s research. Endonovo is

22 informed and believes, and on that basis alleges, that KVP obtains the requisite PEMF

23 component parts from Orthocor who already was using the same technology in its own

24 infringing products, and where those parts were also later incorporated into Caerus’ own

25 product line.

26            120. Endonovo is informed and believes, and on that basis alleges, that Defendants,
27 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

28 lost profits and revenue through loss of sales of its own products by virtue of their


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 1 infringement of the ‘385 Patent.

 2            121. Endonovo has been harmed and sustained damages as a direct and proximate
 3 result of Defendants’ infringement of the ‘385 Patent. Endonovo is thus entitled to

 4 monetary compensation for Defendants’ infringement in an amount to be determined to

 5 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

 6 Defendants through their infringement of the ‘385 Patent.

 7            122. Endonovo is informed and believes, and on that basis alleges, that the
 8 infringement of the ‘385 Patent by Defendants, and each of them, is and has been

 9 intentional, willful and without regard to Endonovo’s rights. Defendants, and each of them,

10 are aware of Dr. Pilla and his pioneering EMF research and the patents he obtained while

11 conducting that research, which Endonovo now owns.

12            123. Despite Defendants’ knowledge of the Endonovo Patents, Defendants, and
13 each of them, have sold and continue to sell the ‘385 Infringing Products and related

14 services in complete and reckless disregard of Endonovo’s patent rights. As such,

15 Defendants have acted recklessly and continue to willfully, wantonly, and deliberately

16 engage in acts of infringement of the ‘385 Patent, justifying an award for increased

17 monetary damages pursuant to 35 United States Code, section 284, as well as attorneys’

18 fees and costs pursuant to 35 United States Code, section 285.

19            124. As a result of Defendants’ unlawful activities, Endonovo has suffered and will
20 continue to suffer irreparable harm for which there is no adequate remedy at law.

21 Endonovo competes with Defendants in these areas of developing medical device

22 technologies and/or therapies. Endonovo currently licenses use of the ‘385 Patent and is

23 engaged in the licensing of its patent portfolio generally. Defendants’ continued

24 infringement of the ‘385 Patent causes, and will continue to cause, harm to Endonovo in

25 various ways, including but not limited to, price erosion, loss of goodwill, damage to

26 reputation, lost business opportunities, lost revenue and income from the sale of its own
27 products, and increased direct and/or indirect competition.

28            125. Monetary compensation alone for the damages incurred due to the harm

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 1 caused by Defendants’ infringing activities is, and will continue to be, insufficient to

 2 compensate Endonovo for these harms. Endonovo is therefore entitled to preliminary

 3 and/or permanent injunctive relief. Unless enjoined, Defendants will continue their

 4 infringing activities and conduct. Thus, injunctive relief is necessary to protect Endonovo

 5 from ongoing injury and further damages.

 6                                               COUNT VI
 7             (Indirect Infringement of the ‘385 Patent pursuant to 35 U.S.C. §271(b).)
 8            126. Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
 9 herein, the allegations of all preceding paragraphs, as set forth above.

10            127. Defendants, and each of them, have induced and continue to induce
11 infringement of one or more of the claims of the ‘385 Patent, in violation of 35 United

12 States Code, section 271, subdivision (b).

13            128. In addition to their direct infringement, Defendants have indirectly infringed,
14 and will continue to indirectly infringe the ‘385 Patent by supplying components and

15 otherwise instructing, directing and/or requiring others, including each of the other

16 Defendants, as well as other suppliers, resellers, developers, distributors, customers,

17 purchasers, consumers and/or other users to perform some or part of the steps of the ‘385

18 Patent’s method claims, whether literally or under the doctrine of equivalents, where all

19 such steps of the method claims are performed either by the Defendants or its suppliers,
20 resellers, developers, distributors, customers, purchasers, consumers and/or other users, or

21 some combination thereof.

22            129. Endonovo is informed and believes, and on that basis alleges, that Defendants,
23 and each of them, knew or were willfully blind to the fact that they each were inducing

24 others, including each other, as well as other suppliers, resellers, developers, distributors,

25 customers, purchasers, consumers and/or other users to infringe by practicing either

26 themselves or in conjunction with Defendants, one or more of the method claims of the
27 ‘385 Patent.

28            130. Endonovo is informed and believes, and on that basis alleges, that Defendants,

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 1 and each of them, knowingly and actively aided and abetted the direct infringement of the

 2 ‘385 Patent by instructing, directing, encouraging, and/or requiring others, including each

 3 of the other Defendants, as well as other suppliers, resellers, developers, distributors,

 4 customers, purchasers, consumers and/or other users to use the ‘385 Infringing Products.

 5 Such instruction and/or encouragement included, but was not limited to, advising third

 6 parties to use the ‘385 Infringing Products in an infringing manner, and distributing various

 7 guidelines and procedures to third parties explaining or instructing those parties on how to

 8 use the ‘385 Infringing Products in an infringing manner, providing mechanisms through

 9 which third parties could or may infringe the ‘385 Patent, as well as by advertising and

10 promoting the use of the ‘490 Infringing Products in an infringing manner.

11            131. Examples of wrongful instruction, encouragement, advertisement, and
12 distribution of guidelines can be seen on Defendants’ websites, advertisements for the ‘385

13 Infringing Products, as well as Defendants’ own FAQ sheets, brochures, User Guides and

14 Instruction Sheets for the ‘385 Infringing Products, which, among other things, instructs,

15 and/or encourages combining the PEMF inductive devices to a brace or other therapeutic

16 device and/or item which is thereafter placed by the instructions near the location of the

17 injured area requiring the therapy and began the specified treatment to the location.

18            132. Endonovo is informed and believes, and on that basis alleges, that Defendants,
19 and each of them, have gained substantial profits and revenue, and subjected Endonovo to
20 lost profits and revenue through loss of sales of its own products by virtue of their indirect

21 infringing activities involving the ‘385 Patent.

22            133. Endonovo has been harmed and sustained damages as a direct and proximate
23 result of Defendants’ infringement of the ‘385 Patent. Endonovo is thus entitled to

24 monetary compensation for Defendants’ infringement in an amount to be determined to

25 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

26 Defendants through their indirect infringing activities involving the ‘385 Patent.
27            134. Where Defendants have acted recklessly and continue to willfully, wantonly,
28 and deliberately engage in acts of indirect infringement of the ‘385 Patent, an award for


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 1 increased monetary damages pursuant to 35 United States Code, section 284, as well as

 2 attorneys’ fees and costs pursuant to 35 United States Code, section 285, is justified.

 3            135. Where such indirect infringement also threatens to damage Endonovo in ways
 4 that cannot be adequately compensated by monetary compensation alone, Endonovo also

 5 requests and is entitled to preliminary and/or permanent injunctive relief from Defendants’

 6 ongoing infringing activities.

 7                                               COUNT VII
 8               (Direct Infringement of the ‘096 Patent pursuant to 35 U.S.C. §271(a).)
 9            136. Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
10 herein, the allegations of all preceding paragraphs, as set forth above.

11            137. Defendants, and each of them, have infringed and continue to infringe one or
12 more of the claims of the ‘096 patent, by making, using, selling and/or offering for sale

13 within the United States, or otherwise importing into the United States, the infringing

14 products, and/or infringing components of those products, in violation of 35 United States

15 Code, section 271, subdivision (a).

16            138. Defendants’ infringement of the ‘096 Patent is based on literal infringement or
17 infringement under the doctrine of equivalents, or both.

18            139. Defendants’ acts of making, using, selling and/or offering for sale or
19 otherwise importing the infringing products and/or related services, have been done
20 without license, and without the permission, consent, or authorization of Endonovo.

21            140. Defendants’ infringement includes, but is not limited to, the manufacture, use,
22 importation, sale, and offer for sale of products contained in the “KVP Cura” line,

23 including but not limited to the “KVP Cura Patch,” as well as any KVP braces and

24 therapeutic devices made for the “KVP Cura Patch” or with a place such that the ‘KVP

25 Cura Patch” will attach, the “OrthoCor Active System,” including all devices which make

26 up this “Active System” line of products, including those which attach on or around, and
27 target therapy to the ankle, knee, back, neck, elbow, wrist, and/or shoulder, the “EMbrace

28 Relief System,” including each part of that system for use on the Hip, Back, and/or


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 1 Shoulder, the “EMpower Device,” which can be used in combination with other

 2 therapeutic devices to target various areas of the body, and the “EMbrace L’il Back

 3 System,” which incorporates the PEMF device into the therapeutic back brace to create a

 4 new infringing product. These products are collectively referred to as the “‘096 Infringing

 5 Products.”

 6       141.           The ‘096 Infringing Products infringe the ‘096 Patent because each one is a
 7 device for accelerating cytosolic ion binding to a corresponding cytosolic buffer to

 8 modulate a biochemical signaling pathway employed for tissue growth, repair and

 9 maintenance, the device configured to increase a voltage across a target ion binding

10 pathway according to an asymmetrical binding kinetics of the target pathway, wherein the

11 target ion binding pathway has an ion bound time, the device comprising: a flexible and

12 circular lightweight wire coil applicator; and a signal generator configured to apply an

13 electromagnetic signal to the applicator to induce, in the target pathway, a peak electric

14 field between 1 to 100 V/m, wherein a signal generated by the signal generator has a pulse

15 duration, random signal duration or carrier period which is less than twice the ion bound

16 time, applied in a burst of waveforms having a pulse duration of between 1 µs and 100 µs,

17 further wherein the signal generated has a burst duration between 1 to 10 msec of between

18 5 MHz to 50 MHz carrier waves, repeating between 1 and 10 bursts/sec.

19            142. Endonovo is informed and believes, and on that basis alleges, that Defendants,
20 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

21 lost profits and revenue through loss of sales of its own products by virtue of their

22 infringement of the ‘096 Patent.

23            143. Endonovo has been harmed and sustained damages as a direct and proximate
24 result of Defendants’ infringement of the ‘096 Patent. Endonovo is thus entitled to

25 monetary compensation for Defendants’ infringement in an amount to be determined to

26 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by
27 Defendants through their infringement of the ‘096 Patent.

28            144. Endonovo is informed and believes, and on that basis alleges, that the

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 1 infringement of the ‘096 Patent by Defendants, and each of them, is and has been

 2 intentional, willful and without regard to Endonovo’s rights. Defendants, and each of them,

 3 are aware of Dr. Pilla and his pioneering EMF research and the patents he obtained while

 4 conducting that research, which Endonovo now owns.

 5            145. Despite Defendants’ knowledge of the Endonovo Patents, Defendants, and
 6 each of them, have sold and continue to sell the ‘096 Infringing Products and related

 7 services in complete and reckless disregard of Endonovo’s patent rights. As such,

 8 Defendants have acted recklessly and continue to willfully, wantonly, and deliberately

 9 engage in acts of infringement of the ‘096 Patent, justifying an award for increased

10 monetary damages pursuant to 35 United States Code, section 284, as well as attorneys’

11 fees and costs pursuant to 35 United States Code, section 285.

12            146. As a result of Defendants’ unlawful activities, Endonovo has suffered and will
13 continue to suffer irreparable harm for which there is no adequate remedy at law.

14 Endonovo competes with Defendants in these areas of developing medical device

15 technologies and/or therapies. Endonovo currently licenses use of the ‘096 Patent and is

16 engaged in the licensing of its patent portfolio generally. Defendants’ continued

17 infringement of the ‘096 Patent causes, and will continue to cause, harm to Endonovo in

18 various ways, including but not limited to, price erosion, loss of goodwill, damage to

19 reputation, lost business opportunities, lost revenue and income from the sale of its own
20 products, and increased direct and/or indirect competition.

21            147. Monetary compensation alone for the damages incurred due to the harm
22 caused by Defendants’ infringing activities is, and will continue to be, insufficient to

23 compensate Endonovo for these harms. Endonovo is therefore entitled to preliminary

24 and/or permanent injunctive relief. Unless enjoined, Defendants will continue their

25 infringing activities and conduct. Thus, injunctive relief is necessary to protect Endonovo

26 from ongoing injury and further damages.
27                                              COUNT VIII
28             (Indirect Infringement of the ‘096 Patent pursuant to 35 U.S.C. §271(b).)

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 1            148. Endonovo repeats, realleges, and incorporates by reference, as if fully set forth
 2 herein, the allegations of all preceding paragraphs, as set forth above.

 3            149. Defendants, and each of them, have induced and continue to induce
 4 infringement of one or more of the claims of the ‘096 Patent, in violation of 35 United

 5 States Code, section 271, subdivision (b).

 6            150. Endonovo is informed and believes, and on that basis alleges, that Defendants
 7 knowingly and actively aided and abetted the direct infringement of the ‘096 Patent by

 8 instructing, directing, encouraging, and/or requiring others as well as other suppliers,

 9 resellers, developers, distributors, customers, purchasers, consumers and/or other users to

10 use the ‘096 Infringing Products. Such instruction and/or encouragement included, but was

11 not limited to, advising third parties to use the ‘096 Infringing Products in an infringing

12 manner, and distributing various guidelines and procedures to third parties explaining or

13 instructing those parties on how to use the ‘096 Infringing Products in an infringing

14 manner, providing mechanisms through which third parties could or may infringe the ‘096

15 Patent, as well as by advertising and promoting the use of the ‘096 Infringing Products in

16 an infringing manner.

17            151. Endonovo is informed and believes, and on that basis alleges, that Defendants,
18 and each of them, knew or were willfully blind to the fact that they each were inducing

19 others, including each other, as well as other suppliers, resellers, developers, distributors,
20 customers, purchasers, consumers and/or other users to infringe by practicing either

21 themselves or in conjunction with Defendants, one or more of the method claims of the

22 ‘096 Patent.

23            152. Endonovo is informed and believes, and on that basis alleges, that Defendants,
24 and each of them, knowingly and actively aided and abetted the direct infringement of the

25 ‘096 Patent by instructing, directing, encouraging, and/or requiring others, including each

26 of the other Defendants, as well as other suppliers, resellers, developers, distributors,
27 customers, purchasers, consumers and/or other users to use the ‘096 Infringing Products.

28 Such instruction and/or encouragement included, but was not limited to, advising third


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 1 parties to use the ‘096 Infringing Products in an infringing manner, and distributing various

 2 guidelines and procedures to third parties explaining or instructing those parties on how to

 3 use the ‘096 Infringing Products in an infringing manner, providing mechanisms through

 4 which third parties could or may infringe the ‘096 Patent, as well as by advertising and

 5 promoting the use of the ‘096 Infringing Products in an infringing manner.

 6            153. Examples of wrongful instruction, encouragement, advertisement, and
 7 distribution of guidelines can be seen on Defendants’ websites, advertisements for the ‘096

 8 Infringing Products, as well as Defendants’ own FAQ sheets, brochures, User Guides and

 9 Instruction Sheets for the ‘096 Infringing Products, which, among other things, instructs,

10 and/or encourages combining the PEMF inductive devices to a brace or other therapeutic

11 device and/or item which is thereafter placed by the instructions near the location of the

12 injured area requiring the therapy.

13            154. Endonovo is informed and believes, and on that basis alleges, that Defendants,
14 and each of them, have gained substantial profits and revenue, and subjected Endonovo to

15 lost profits and revenue through loss of sales of its own products by virtue of their indirect

16 infringing activities involving the ‘096 Patent.

17            155. Endonovo has been harmed and sustained damages as a direct and proximate
18 result of Defendants’ infringement of the ‘096 Patent. Endonovo is thus entitled to

19 monetary compensation for Defendants’ infringement in an amount to be determined to
20 compensate for Endonovo’s lost sales and profits and/or the profits and revenue gained by

21 Defendants through their indirect infringing activities involving the ‘096 Patent.

22            156. Where Defendants have acted recklessly and continue to willfully, wantonly,
23 and deliberately engage in acts of indirect infringement of the ‘096 Patent, an award for

24 increased monetary damages pursuant to 35 United States Code, section 284, as well as

25 attorneys’ fees and costs pursuant to 35 United States Code, section 285, is justified.

26            157. Where such indirect infringement also threatens to damage Endonovo in ways
27 that cannot be adequately compensated by monetary compensation alone, Endonovo also

28 requests and is entitled to preliminary and/or permanent injunctive relief from Defendants’


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 1 ongoing infringing activities.

 2                                        PRAYER FOR RELIEF
 3            WHEREFORE, Endonovo prays for the following relief:
 4            158. A judgment that Defendants, and each of them, have directly and/or indirectly
 5 infringed one or more of the claims of the ‘574 Patent;

 6            159. A judgment that Defendants, and each of them, have directly and/or indirectly
 7 infringed one or more of the claims of the ‘490 Patent;

 8            160. A judgment that Defendants, and each of them, have directly and/or indirectly
 9 infringed one or more of the claims of the ‘385 Patent;

10            161. A judgment that Defendants, and each of them, have directly and/or indirectly
11 infringed one or more of the claims of the ‘096 Patent;

12            162. An order and judgment either preliminarily or permanently enjoining
13 Defendants, and each of them, as well as Defendants’ officers, agents, affiliates,

14 employees, and/or any other persons acting or attempting to act in concert or participation

15 with Defendants, from any further acts of infringement of the ‘574 Patent;

16            163. An order and judgment either preliminarily or permanently enjoining
17 Defendants, and each of them, as well as Defendants’ officers, agents, affiliates,

18 employees, and/or any other persons acting or attempting to act in concert or participation

19 with Defendants, from any further acts of infringement of the ‘490 Patent;
20            164. An order and judgment either preliminarily or permanently enjoining
21 Defendants, and each of them, as well as Defendants’ officers, agents, affiliates,

22 employees, and/or any other persons acting or attempting to act in concert or participation

23 with Defendants, from any further acts of infringement of the ‘385 Patent;

24            165. An order and judgment either preliminarily or permanently enjoining
25 Defendants, and each of them, as well as Defendants’ officers, agents, affiliates,

26 employees, and/or any other persons acting or attempting to act in concert or participation
27 with Defendants, from any further acts of infringement of the ‘096 Patent;

28            166. A judgment awarding Endonovo monetary damages adequate to compensate

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 1 Endonovo for Defendants’ infringement of the ‘574 Patent, including any and all pre-

 2 judgment and post-judgment interest at the maximum rate permitted by law;

 3            167. A judgment awarding Endonovo monetary damages adequate to compensate
 4 Endonovo for Defendants’ infringement of the ‘490 Patent, including any and all pre-

 5 judgment and post-judgment interest at the maximum rate permitted by law;

 6            168. A judgment awarding Endonovo monetary damages adequate to compensate
 7 Endonovo for Defendants’ infringement of the ‘385 Patent, including any and all pre-

 8 judgment and post-judgment interest at the maximum rate permitted by law;

 9            169. A judgment awarding Endonovo monetary damages adequate to compensate
10 Endonovo for Defendants’ infringement of the ‘096 Patent, including any and all pre-

11 judgment and post-judgment interest at the maximum rate permitted by law;

12            170. A judgment that Defendants, and each of them, have willfully, wantonly
13 and/or deliberately infringed the ‘574 Patent;

14            171. A judgment that Defendants, and each of them, have willfully, wantonly
15 and/or deliberately infringed the ‘490 Patent;

16            172. A judgment that Defendants, and each of them, have willfully, wantonly
17 and/or deliberately infringed the ‘385 Patent;

18            173. A judgment that Defendants, and each of them, have willfully, wantonly
19 and/or deliberately infringed the ‘096 Patent;
20            174. A judgment awarding Endonovo increased damages pursuant to 35 United
21 States Code section 284 to the extent that the Court finds this case exceptional with respect

22 to Defendants’ infringement of the ‘574 Patent;

23            175. A judgment awarding Endonovo increased damages pursuant to 35 United
24 States Code section 284 to the extent that the Court finds this case exceptional with respect

25 to Defendants’ infringement of the ‘490 Patent;

26            176. A judgment awarding Endonovo increased damages pursuant to 35 United
27 States Code section 284 to the extent that the Court finds this case exceptional with respect

28 to Defendants’ infringement of the ‘385 Patent;


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 1            177. A judgment awarding Endonovo increased damages pursuant to 35 United
 2 States Code section 284 to the extent that the Court finds this case exceptional with respect

 3 to Defendants’ infringement of the ‘096 Patent;

 4            178. A judgment awarding Endonovo its reasonable attorneys’ fees as provided for
 5 in 35 United States Code section 285 to the extent that the Court finds this case exceptional

 6 with respect to Defendants’ infringement of the ‘574 Patent;

 7            179. A judgment awarding Endonovo its reasonable attorneys’ fees as provided for
 8 in 35 United States Code section 285 to the extent that the Court finds this case exceptional

 9 with respect to Defendants’ infringement of the ‘490 Patent;

10            180. A judgment awarding Endonovo its reasonable attorneys’ fees as provided for
11 in 35 United States Code section 285 to the extent that the Court finds this case exceptional

12 with respect to Defendants’ infringement of the ‘385 Patent;

13            181. A judgment awarding Endonovo its reasonable attorneys’ fees as provided for
14 in 35 United States Code section 285 to the extent that the Court finds this case exceptional

15 with respect to Defendants’ infringement of the ‘096 Patent;

16            182. Any such further relief that this Court determines is proper and just.
17

18                                              Respectfully Submitted,
19
20 DATED: February 7, 2019                      By:       /s/ Roland J. Tong
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28


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